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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

ISABEL LONGORIA and CATHY MORGAN,               §
                                                §
        Plaintiffs,                             §
                                                §
v.                                              §     Case No. 5:21-cv-1223-XR
                                                §
WARREN K. PAXTON, in his official capacity      §
as the Attorney General of Texas, et al.,       §
                                                §
        Defendants.                             §

                      ATTORNEY GENERAL PAXTON’S NOTICE OF APPEAL
       Defendant Warren K. Paxton appeals to the Court of Appeals for the Fifth Circuit the

preliminary injunction issued by the Court on February 11, 2022 (ECF 53, 56).

 Date: February 14, 2022                      Respectfully submitted.

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                                   CERTIFICATE OF SERVICE
         I certify that on February 14, 2022, this notice was filed with through the Court’s CM/ECF
service, which automatically served it on all counsel of record.

                                             /s/ Leif A. Olson




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